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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                             CASE NO.:

 WINDY LUCIUS,

        Plaintiff,

 v.

 THE COLLECTED GROUP RETAIL, LLC d/b/a JOIE,

        Defendant.
                                                                /

                           COMPLAINT FOR INJUNCTIVE RELIEF

        Plaintiff, WINDY LUCIUS, (“Plaintiff”), hereby sues the Defendant, THE COLLECTED

 GROUP RETAIL, LLC d/b/a JOIE (“Defendant”), a foreign corporation doing business in Florida,

 for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans

 with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

        1.      Plaintiff is a Florida resident, lives in Miami-Dade County, is sui juris, and qualifies

 as an individual with disabilities as defined by the ADA. Plaintiff is blind and therefore unable to

 fully engage in and enjoy the major life activity of seeing.

        2.      Plaintiff also utilizes the internet. Plaintiff is unable to read computer materials

 and/or access and comprehend internet website information without software specially designed

 for the visually impaired. Specifically, Plaintiff utilizes the JAWS Screen Reader software, which is

 one of the most popular reader Screen Reader Software ("SRS") utilized worldwide.

        3.      Plaintiff is also an advocate of the rights of similarly situated disabled persons and

 is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

 whether places of public accommodation and/or their websites are in compliance with the ADA.
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         4.      Defendant owns, leases, leases to, or operates a place of public accommodation as

 defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104. The

 place of public accommodation that the Defendant owns, operates, or leases is located in Miami-

 Dade County.

         5.      Subsequent to the effective date of the ADA, Defendant constructed, or caused to be

 constructed, a website located at https://www.joie.com/ (hereinafter “website”). Defendant is the

 owner, operator, lessor and/or lessee of the website. This website supports, is an extension of, is

 in conjunction with, is complementary and supplemental to, the above-referenced public

 accommodation. This website provides information about Defendant's public accommodation,

 including information about the special sales, goods, services, accommodations, privileges, benefits

 and facilities available to patrons at physical locations. The website also allows customers to make

 purchases online. On information and belief, Defendant also continually and/or periodically

 updates and maintains the website.

         6.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b), and

 Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

 occurred in this District.

         7.      This Court has personal jurisdiction over THE COLLECTED GROUP RETAIL,

 LLC d/b/a JOIE, pursuant to, inter alia, Florida’s long arm statute F.S. § 48.193, in that Defendant:

 (a) operates, conducts, engages in, and/or carries on a business or business ventures (s) in Florida

 and/or has an office or agency in Florida; (b) has committed one or more tortious acts within

 Florida; (c) was and/or is engaged in substantial and not isolated activity within Florida; and/or (d)

 has purposely availed itself of Florida’s laws, services and/or benefits and therefore should

 reasonably anticipate being hailed into one or more of the courts within the State of Florida.




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        8.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

 original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

 Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

        9.      The website is an extension of Defendant's place of public accommodation. By and

 through this website, Defendant extends its public accommodation into individual persons' homes,

 portable devices and personal computers wherever located. The website is a service, facility,

 privilege, advantage, benefit and accommodation of Defendant's place of accommodation. The

 website also provides access to the goods, services, facilities, privileges, advantages or

 accommodations of the place of public accommodation. For example, the website provides a store

 locator, a list of items available for sale in the brick and mortar stores, and the ability to purchase

 items to be shipped. Like many people, Plaintiff would like to pre-shop the Defendant’s stores to

 determine whether certain items are available at the stores before she leaves home and whether the

 items are “on sale”. She would like to take advantage of special sales in store that she would only

 know about from the website. She would also like to determine store locations where she would

 shop. Defendant’s website provides access to benefits of Defendant’s physical stores and Plaintiff

 was denied those benefits when she could not access Defendant’s website. As such, the website

 has integrated with and is a nexus to the brick and mortar location. Therefore, it is governed by

 the following provisions:

                a.      42 U.S.C. Section 12182(a) provides: “No individual shall be discriminated

 against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

 privileges, advantages, or accommodations of any place of public accommodation by any person

 who owns, leases (or leases to), or operates a place of public accommodation.”

                b.      42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to




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 subject an individual or class of individuals on the basis of a disability or disabilities of such

 individual or class, directly, or through contractual, licensing, or other arrangements, to a denial

 of the opportunity of the individual or class to participate in or benefit from the goods, services,

 facilities, privileges, advantages, or accommodations of an entity[.]”

                 c.       42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

 afford an individual or class of individuals, on the basis of a disability or disabilities of such

 individual or class, directly, or through contractual, licensing, or other arrangements with the

 opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

 accommodation that is not equal to that afforded to other individuals[.]”

                 d.       42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

 provide an individual or class of individuals, on the basis of a disability or disabilities of such

 individual or class, directly, or through contractual, licensing, or other arrangements with a good,

 service, facility, privilege, advantage, or accommodation that is different or separate from that

 provided to other individuals, unless such action is necessary to provide the individual or class of

 individuals with a good, service, facility, privilege, advantage, or accommodation, or other

 opportunity that is as effective as that provided to others[.]”

                 e.       42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,

 privileges, advantages, and accommodations shall be afforded to an individual with a disability in

 the most integrated setting appropriate to the needs of the individual.”

                 f.       42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

 of separate or different programs or activities provided in accordance with this section, an

 individual with a disability shall not be denied the opportunity to participate in such programs or

 activities that are not separate or different.”




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                g.      42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to

 make reasonable modifications in policies, practices, or procedures, when such modifications are

 necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to

 individuals with disabilities, unless the entity can demonstrate that making such modifications

 would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

 accommodations[.]”

                h.      42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to

 take such steps as may be necessary to ensure that no individual with a disability is excluded,

 denied services, segregated or otherwise treated differently than other individuals because of the

 absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

 would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

 accommodation being offered or would result in an undue burden[.]”

        10.     As the owner or operator of the subject website, Defendant is required to comply

 with the ADA and the provisions cited above. This includes an obligation to create and maintain a

 website that is accessible to and usable by visually impaired persons so that they can enjoy full and

 equal access to the website and the content therein, including the ability to place orders through

 the website for pickup at a designated location.

        11.     Plaintiff attempted to access and/or utilize Defendant's website, but was unable to,

 and she continues to be unable to enjoy full and equal access to the website and/or understand the

 content therein because numerous portions of the website do not interface with and are not

 readable by SRS. More specifically, features of the website that are inaccessible to the visually

 impaired include, but are not limited to, the following: The homepage banner image is not labeled.

 It is announced as "main landmark sale link." Sighted users can see the coupon code and savings




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 amounts, but this is not made available to screen reader users. The shipping options do not receive

 focus and are not announced. Users cannot hear nor change the shipping types. They are also

 absent from the tab order later in the cart experience. A cart preview window is displayed to show

 users that they have successfully added an item to their cart. This window is not announced nor

 does focus move to this section. Instead, focus continues to other sections behind the window. The

 size chart is only a single image. None of the content in this image is announced. The text content

 in the "End of Season Sale" ad is not announced. Screen reader users do not hear that they can get

 60% off nor do they hear the coupon code. The cart icon does not receive focus and it is not

 announced. This issue is made worse since disabled users cannot hear the cart preview window

 when it's displayed.

         12.     Plaintiff continues to attempt to utilize the website and/or plans to continue to

 attempt to utilize the website in the near future. In the alternative, Plaintiff intends to monitor the

 website in the near future, as a tester, to ascertain whether it has been updated to interact properly

 with screen reader software.

         13.     As more specifically set forth above, Defendant has violated the above cited

 provisions of the ADA by failing to interface its website with software utilized by visually

 impaired individuals. Thus, Defendant has violated the following provisions either directly or

 through contractual, licensing or other arrangements with respect to Plaintiff and other similarly

 situated individuals on the basis of their disability:

                 a.      by depriving her of the full and equal enjoyment of the goods, services,

 facilities, privileges, advantages, or accommodations of its place of public accommodation (42

 U.S.C. § 12182(a));

                 b.      in the denial of the opportunity to participate in or benefit from the goods,




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 services, facilities, privileges, advantages, or accommodations (42 U.S.C. § 12182(b)(1)(A)(i));

                c.      in affording her the opportunity to participate in or benefit from a good,

 service, facility, privilege, advantage, or accommodation that is not equal to that afforded to other

 individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                d.      by providing her a good, service, facility, privilege, advantage, or

 accommodation that is different or separate from that provided to other individuals, unless such

 action is necessary to provide the individual or class of individuals with a good, service, facility,

 privilege, advantage, or accommodation, or other opportunity that is as effective as that provided

 to others (42 U.S.C. § 12182(b)(1)(A)(iii));

                e.      by failing to afford her goods, services, facilities, privileges, advantages,

 and accommodations in the most integrated setting appropriate to the needs of the individual (42

 U.S.C. § 12182(b)(1)(B));

                f.      notwithstanding the existence of separate or different programs or activities

 provided in accordance with this section, by denying her the opportunity to participate in such

 programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));

                g.      by a failure to make reasonable modifications in policies, practices, or

 procedures, when such modifications are necessary to afford such goods, services, facilities,

 privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

 demonstrate that making such modifications would fundamentally alter the nature of such goods,

 services, facilities, privileges, advantages, or accommodations (42 U.S.C. § 12182(b)(2)(ii)); and,

                h.      by a failure to take such steps as may be necessary to ensure that they are not

 excluded, denied services, segregated or otherwise treated differently than other individuals

 because of the absence of auxiliary aids and services, unless the entity can demonstrate that taking




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 such steps would fundamentally alter the nature of the good, service, facility, privilege, advantage,

 or accommodation being offered or would result in an undue burden (42 U.S.C. § 12182(b)(2)(iii)).

        14.        Plaintiff would like to be a customer at Defendant’s brick and mortar location but

 before she goes to the store, she would like to determine what is available for her purchasing, what

 promotions are being offered and what new items are currently available. In that regard, Plaintiff

 continues to attempt to utilize the website and/or plans to continue to attempt to utilize the website

 on a monthly basis to make selections for purchasing online or in the store.

        15.        Plaintiff is continuously aware of the violations at Defendant's website and is aware

 that it would be a futile gesture to attempt to utilize the website as long as those violations exist

 unless she is willing to suffer additional discrimination.

        16.        Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result

 of the discriminatory conditions present at Defendant's website. By continuing to operate its

 website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

 segregation and deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

 privileges and/or accommodations available to the general public. By encountering the

 discriminatory conditions at Defendant's website, and knowing that it would be a futile gesture to

 attempt to utilize the website unless she is willing to endure additional discrimination, Plaintiff is

 deprived of the meaningful choice of freely visiting and utilizing the same accommodations readily

 available to the general public and is deterred and discouraged from doing so. By maintaining a

 website with violations, Defendant deprives plaintiff the equality of opportunity offered to the

 general public.

        17.        Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

 of the Defendant’s discrimination until the Defendant is compelled to comply with the




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 requirements of the ADA.

           18.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

 from the Defendant’s non-compliance with the ADA with respect to this website as described

 above. Plaintiff has reasonable grounds to believe that she will continue to be subjected to

 discrimination in violation of the ADA by the Defendant. Plaintiff desires to access the website to

 avail herself of the benefits, advantages, goods and services therein, and/or to assure herself that

 this website is in compliance with the ADA so that she and others similarly situated will have full

 and equal enjoyment of the website without fear of discrimination.

           19.   The Plaintiff and all others similarly situated will continue to suffer such

 discrimination, injury and damage without the immediate relief provided by the ADA as requested

 herein.

           20.   Plaintiff is without adequate remedy at law and is suffering irreparable harm.

 Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

 litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

           21.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

 Injunctive Relief, including an order to require the Defendant to alter its website to make it readily

 accessible to and usable by Plaintiff and other persons with vision impairment.

           22.   As a result of the foregoing, Plaintiff has been obligated to retain the undersigned

 counsel for the filing and prosecution of this action. Plaintiff is entitled to have her reasonable

 attorneys' fees, costs and litigation expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

           WHEREFORE, Plaintiff respectfully requests:

           a.    The Court issue a Declaratory Judgment that determines that the Defendant's website
                 at the commencement of the subject lawsuit is in violation of Title III of the
                 Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.;




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        b.     The Court issue a Declaratory Judgment that determines that the Defendant's website
               is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181
               et seq.;

        c.     The Court issue a Declaratory Judgment that Defendant has violated the ADA by
               failing to monitor and maintain its website to ensure that it is readily accessible to
               and usable by persons with vision impairment;

        d.     That this Court issue an Order directing Defendant to alter its website to make it
               accessible to, and useable by, individuals with disabilities to the full extent required
               by Title III of the ADA;

        e.     That this Court enter an Order directing Defendant to evaluate and neutralize its
               policies and procedures towards persons with disabilities for such reasonable time
               so as to allow Defendant to undertake and complete corrective procedures;

        f.     That this Court enter an Order directing Defendant to continually update and
               maintain its website to ensure that it remains fully accessible to and usable by
               visually impaired individuals;

        g.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. §
               12205; and,

        h.     Such other relief as the Court deems just and proper, and/or is allowable under Title
               III of the Americans with Disabilities Act.

  Dated: August 4, 2020


                                               Respectfully submitted,

                                               /s/ J. Courtney Cunningham
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